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Entered By. :

On May 22, 2006, I received several phone calls throughout the day

con who stated he had been followed aggressively by a private

investigator. stated that as he drove to and from work and

running errands throughout the county, the same vehicle was behind him

running other vehicles off the road in an attempt not to lose sight of
's vehicle.

I explained to him as Mr. Epstein had retained new legal council it
was possible it would be new private investigators following him to
observe his daily activities. I also explained to him that there was
a meeting scheduled with and Attorney Jack
Goldberger at scheduled on June 1, 2006 at 9:00

am. I attempted to call to inform J of the
private investigators following however;

On May 23, 2006, I received other phone calls from [J and I—who
advised they were able to acquire the private investigators license

plate information. The subject following them was again driving very
aggressively and caused IIo run off the road. zz stated
the vehicle is a green Chevy bearing Florida tag a

The vehicle is registered to ii of Florida.
DS is employed with EBB Investigations from Florida.
Mee is a licensed Private Investigator in the State of Florida.

  
    
 
  
    
 

  
 

  
  

 
  

     
 

Since the discovery of the threat made against one of the victims in

this case BMJ, I requested subpoenas for all calls made to and
received from during the month of March 2006 for her
cell phone and home phone. I had confirmed with
the exact dates of Spring Break for 2006.. The Spring Break
was from March 4, 2006 through March 12, 2006. I received a subpoena

from BBM with all calls made during the month of March 2006.
I reviewed the 989 calls made and received during the month of March

2006. I observed on March 7, 2006, GE made and received thirty
five calls during that day.

Date Time Seconds In/Out meee
7-Mar-06 11:03 AM 492 Outbound
7-Mar-06 11:16 AM 6 Tnbound a

7-Mar-06 11:22 AM 887.2 Inbound a
77-Mar-06 11:37 AM 48 Outbound ee

7-Mar-06 11:39 AM 28.2 Inbound ee
7-Mar-06 12:02 PM 727.2 ‘Inbound ee

The table reflects the date of the calls, time of day (EST), duration

  

 

 
 

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of call _ in seconds, inbound or outbound calls and calls made to or
from MJ phone. On March 7, 2006, at 11:03 am, MEM made a call
to the victim Jf which lasted 492 seconds (8 minutes and 2 seconds).
The victim then returned the call at_11:16 am which lasted 6 seconds.
The victim then made contact with a ax 11:22 am for 877.2 seconds
(14 minutes and 6 seconds). These sequences of calls were consistent
with what the victim had described to me on the date of the
intimidation. Immediately after speaking with the victim, JJ makes
a call to Epstein's assistant, which lasts for
forty-eight seconds. A call is then immediately received, a telephone
number registered to a Corporation affiliated with Jeffrey Epstein
located at 457 Madison Ave in New York. An extensive computer check
revealed 457 Madison Ave is a business address in which Epstein has
his corporations assigned to. Epstein had corporation attorney,
Pa register the businesses and register himself as an
agent. I also observed Epstein has his El Zorro Ranch Corporation,
New York Strategy Group, Ghislaine Corporation, J Epstein and Company
and the Financial Strategy Group registered to this same address.
Finally, a third call is received by at 12:02 pm from the same
corporate number which lasts 12 minutes and 1 second. It should be
noted that there is no further contact with either the victim during
the month of March or April of 2006. TI also noted that there was no
further contact with aT or Jeffrey Epstein during the
remainder of the month of March or April 2006.

On June 1, 2006, NN = <lephoned me to inform me of the

meeting that occurred with Atty. Jack Goldberger and MMMM cference

   
 

Inv Continues.

 

 

  
